           Case 1:24-cv-04817-PAE-JW             Document 22        Filed 12/13/24     Page 1 of 2




                                            THE CITY OF NEW YORK
MURIEL GOODE-TRUFANT                       LAW DEPARTMENT                                         JOSEPH ZANGRILLI
Corporation Counsel                            100 CHURCH STREET                                             Senior Counsel
                                               NEW YORK, NY 10007                                    phone: (212) 356-2657
                                                                                                        fax: (212) 356-3509
                                                                                              e-mail: jzangril@law.nyc.gov


                                                                          December 13, 2024

      Honorable Jennifer E. Willis
      United States Magistrate Judge
      United States District Court
      Southern District of New York
      40 Foley Square
      New York, NY 10007

             Re:       Brandon A. Covial v. Marvin Francillion, et al.,
                       24 Civ. 4817 (PAE) (JW)

      Your Honor:

              I am a Senior Counsel in the office of Muriel Goode-Trufant, Corporation Counsel of the
      City of New York, and the attorney representing the City of New York and Marvin Francillon in
      the above referenced matter. I write to respectfully notify the Court that the City has been unable
      to communicate with Plaintiff due to apparent issues with his mailing address.

             By way of background, pro se Plaintiff Brandon A. Covial filed his Complaint on June
      25, 2024. The docket sheet indicates that Plaintiff's mailing address is: 47 East 30th Street, New
      York, NY 10016. On November 8, 2024, this office spoke with Plaintiff by telephone, during
      which Plaintiff provided the following address:

             Brandon A. Covial
             47 East 30th Street
             Apt. 1
             New York, NY 10016

              During that conversation, this office provided Plaintiff with a courtesy copy, via email, of
      the Court's pro se information package (ECF No. 12) and provided instructions on how to update
      his address with the Court. However, as Plaintiff has never responded to any emails from this
      office, we cannot confirm whether this email reached him. This office has been unable to contact
      Plaintiff since that date and therefore cannot verify if this address is accurate.
      Case 1:24-cv-04817-PAE-JW            Document 22        Filed 12/13/24     Page 2 of 2




        The City’s letter motions filed on November 18, 2024 (ECF No. 15) and November 22,
2024 (ECF No. 18), which were served by mail pursuant to Federal Rule of Civil Procedure
5(b)(2)(C), were returned marked “insufficient address, unable to forward.” Additionally, on
December 2, 2024 and December 6, 2024, Court Orders mailed to Plaintiff were similarly
returned marked “Return To Sender INSUFFICIENT Address Unable To Forward.”

        Because this office is unable to communicate with Plaintiff at his address of record, it is
respectfully requested that the Court direct Plaintiff to verify or update his current mailing
address to avoid unnecessary delays.

         The defendants thank the Court for its time and consideration of this request.



                                                          Respectfully submitted,

                                                              Joseph Zangrilli /s/

                                                              Joseph Zangrilli
                                                              Attorney for Defendants City and
                                                                  Francillon
                                                              Senior Counsel
                                                              New York City Law Department
                                                              100 Church Street
                                                              New York, NY 10007
                                                              (212) 356-2657
                                                              jzangril@law.nyc.gov


Cc:      VIA FIRST CLASS MAIL
         Brandon A. Covial
         47 East 30th Street
         Apt. 1
         New York, NY 10016
         Pro Se Plaintiff




15033747_1.docx                                  -2-
